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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :      CASE NO. 21-cr-225 (DLF)
               v.                              :
                                               :
TRENISS JEWELL EVANS, III,                     :
                                               :
                       Defendant.              :

                                              ORDER

       Upon consideration of the parties’ Joint Motion To Schedule Plea Hearing and To Exclude

Time Under Speedy Trial Act,

       IT IS ORDERED, that the status hearing currently scheduled for January 22, 2022 at 11:00

a.m. be vacated, and a plea hearing scheduled on January 31, 2022, at _______ a.m./p.m.;

       IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 3161(h)(7)(A), that the time period

from January 22, 2022 until January 31, 2022, be excluded from computation of time under the

Speedy Trial Act in this case, in order to allow the defendant to continue reviewing the voluminous

discovery in the case, and to allow the parties to finalize discussions regarding possible resolutions

of the case, and that the ends of justice served by taking such action outweigh the best interest of

the public and the defendant in a speedy trial.

Dated this ______ day of January, 2022.




                                                      HON. DABNEY L. FRIEDRICH
                                                      UNITED STATES DISTRICT JUDGE
